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                    IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

O. DOE; BRAZILIAN WORKER CENTER, INC.;
LA COLABORATIVA,

                           Plaintiffs,

                    v.
                                                    Civil Action No. 25-10135-LTS
DONALD J. TRUMP, in his official capacity as
President of the United States; U.S. DEPARTMENT
OF STATE; U.S. SOCIAL SECURITY
ADMINISTRATION; MARCO RUBIO, in his
official capacity as Secretary of State; MICHELLE
KING, in her official capacity as Acting
Commissioner of U.S. Social Security
Administration,

                             Defendants.



     MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                   PRELIMINARY INJUNCTION
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                                      INTRODUCTION

        By this motion, Plaintiffs seek a preliminary injunction to stop Defendants from

implementing a January 20, 2025 Executive Order (the “EO”) that purports to strip citizenship

from thousands of Americans with the stroke of a pen.1 The EO is as illegal as it is

unprecedented—and the harms that would flow from its implementation are immense. A

preliminary injunction is necessary to preserve the status quo and avoid immeasurable harm to

Plaintiffs.

        Defendant Trump issued the EO within hours of his inauguration as President. Contrary to

the explicit language of the U.S. Constitution and to settled Supreme Court precedent, the EO

declares that as of February 19, 2025, broad swaths of individuals born on American soil will no

longer be considered citizens. It directs federal agencies, including Defendants U.S. Department

of State and U.S. Social Security Administration, to stop issuing documents recognizing United

States citizenship for such individuals.

        But a President has no such power. Birthright citizenship is explicitly written into the U.S.

Constitution and protected by federal statute. If this unparalleled assault on the sanctity and

integrity of U.S. citizenship is allowed to go into effect, it would create a permanent underclass

and return our nation to the dark days of Dred Scott—the ignoble Supreme Court decision that

denied citizenship to enslaved people and that the Fourteenth Amendment was enacted to rebuke.

60 U.S. 393, 404 (1858).

        Plaintiffs are among the many thousands who would be immediately and irreparably

harmed by the EO. O. Doe is an expectant immigrant mother, due in March 2025, whose child’s



1
  The Executive Order, entitled “Protecting the Meaning and Value of American Citizenship,” is
attached as Exhibit A to the Complaint. See ECF No. 1-1.

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citizenship—with all the many benefits that entails—is at imminent risk. Plaintiffs Brazilian

Worker Center and La Colaborativa are two non-profit organizations whose membership includes

numerous individuals who would similarly suffer severe harm if the EO were implemented. As

demonstrated in this brief and through concurrently-filed declarations,2 Plaintiffs more than

surpass the four-part standard for issuance of a preliminary injunction. Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 20 (2008) (outlining likelihood of success on the merits, irreparable harm,

balance of equities, and public interest as requisite factors for injunctive relief).

        First, Plaintiffs’ likelihood of success on the merits is extremely high. The EO is flatly

contrary to a) the plain language of the Citizenship Clause of the Fourteenth Amendment; b)

binding U.S. Supreme Court authority; and c) federal statutory law that codifies the protections of

the Citizenship Clause. See infra at 6-9. The EO also violates the Administrative Procedure Act

(APA). See infra at 10-11.3




2
  See Declaration of O. Doe (“Doe Dec.”); Declaration of Gladys Vega, the President and CEO of
Plaintiff La Colaborativa (“Vega Dec.”); Declaration of Lenita Reason, the Executive Director of
Plaintiff Brazilian Worker Center (“Reason Dec.”); Declaration of Leon Rodriguez, former
Director of United States Citizenship and Immigration Services (“Rodriguez Dec.”); Declaration
of Dr. Fiona S. Danaher, M.D., M.P.H., pediatrician for Massachusetts General Hospital
(“Danaher Dec.”); Declaration of Dr. Rose L. Molina, M.D., M.P.H., obstetrician-gynecologist at
The Dimock Center (a federally qualified community health center) and Beth Israel Deaconess
Medical Center (“Molina Dec.”); Declaration of Carol Galletly, PhD, an expert who has performed
nationwide empirical research at the intersection of public health and immigration (“Galletly
Dec.”); Declaration of Professor Daniel Kanstroom at Boston College Law School, who has
trained federal and state judges, prosecutors and attorneys in the intricacies of immigration law
(“Kanstroom Dec.”); Declaration of Katherine Culliton-González, the former Officer for Civil
Rights and Civil Liberties at the U.S. Department of Homeland Security (“Culliton-Gonzalez
Dec.”); Declaration of Armen H. Merjian of Housing Works, a non-profit organization in New
York dedicated to ending the twin crises of homelessness and HIV (“Merjian Dec.”).
3
  By this motion, Plaintiffs move for relief based on their claims under the Citizenship Clause, 8
U.S.C. § 1401, and the APA. Plaintiffs’ complaint also pleads a cause of action under the Fifth
Amendment. Plaintiffs do not move for preliminary relief on that ground but reserve the right to
pursue it as the litigation progresses.

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        Second, the harm that Plaintiffs will suffer if the EO is not enjoined is both irreparable and

massive. The act of stripping someone of their citizenship is so grave that the Supreme Court has

called it “a form of punishment more primitive than torture” that “amounts to the total destruction

of the individual’s status in organized society.” Trop v. Dulles, 356 U.S. 86, 101 (1958).

Citizenship lies at the heart of a person’s identity; de-naturalization is highly stigmatizing and

forces those subject to it to live with the uncertainty and fear that comes with the imminent threat

of banishment from their native country. See, e.g., Fedorenko v. United States, 449 U.S. 490, 525

n.14 (1981) (all citizens are lawfully entitled “to enjoy the benefits of citizenship in confidence

and without fear”). see also Obergefell v. Hodges, 576 U.S. 644, 663 (2015) (affirming the

centrality of “individual dignity and autonomy”).

        Declarations accompanying this Motion attest to the magnitude of this harm. Plaintiff O.

Doe—like thousands of others in her position throughout the country—testifies how she now lives

in intense fear that her child will be born stateless, thrust at birth into a highly vulnerable, unsafe,

and precarious position and stripped of the protections of citizenship. Plaintiffs Brazilian Worker

Center and La Colaborativa aver about similar impending harm for their members, whose

children—citizens under the Fourteenth Amendment—will now have “their legal status and

rights… constantly questioned and challenged.” Reason Dec. ¶14; see also Vega Dec. ¶11

(describing “panic” of members facing prospect of children who should be recognized as citizens

instead being “stigmatized, excluded, and alienated in the only country they know as home”).

        The intense anxiety that Plaintiff Doe and Plaintiffs’ members are currently experiencing

is entirely justified, because the practical impacts of de-naturalization are so enormous. As the

former Director of United States Citizenship and Immigration Services (USCIS) puts it in his

declaration, children “would become instantly deportable by virtue of having no recognized



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immigration status in the United States. Many would be rendered stateless, because they would

also have no ties to any other country.” Rodriguez Dec. ¶8.

        The harms cascade from there. As doctors from leading medical institutions attest,

stripping children of their citizenship immediately puts them at much greater health risk. See

Danaher Dec. ¶7 (MGH pediatrician testifying that “[e]liminating birthright citizenship would not

only expand the population of undocumented children with reduced access to healthcare….; it

would create a new, more vulnerable subpopulation of stateless children”); Molina Dec. ¶¶9-10

(Beth-Israel OB-GYN describing how “a child’s citizenship status significantly impacts their

access to healthcare and health outcomes…. Infants are among the most vulnerable

populations….”). Loss of citizenship has a similarly dramatic impact on access to such basic

necessities as safe housing and food. See Merjian Dec. ¶¶ 4-7 (describing enormous housing access

gulf between those with citizenship and those without); Danaher Dec. ¶9.

        As to the third and fourth factors of the preliminary injunction test—the balance of harms

and the public interest—those “merge when the Government is the opposing party.” Nken v.

Holder, 556 U.S. 418, 435 (2009). “There is generally no public interest in the perpetuation of

unlawful agency action.” League of Women Voters of United States v. Newby, 838 F.3d 1, 12 (D.C.

Cir. 2016). These factors weigh even more heavily in Plaintiffs’ favor than in the usual case where

the government is the defendant, due to the extreme disruption that would occur throughout

American society if the bedrock principle of birthright citizenship were eroded. See Rodriguez

Dec. ¶7 (former Director of USCIS describing how the EO “would immediately cause significant

disruption and chaos throughout many different facets of American life….because we as a nation

have built up numerous different systems that are designed on the foundational premise that a birth

certificate reflecting birth within the United States constitutes proof of U.S. citizenship.”); see also



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Kanstroom Dec. ¶12 (immigration specialist describing how “[t]he consequences of even a short-

lived Executive Order of this type would involve intolerable legal chaos”); Galletly Dec. ¶¶6-8

(outlining grave public health impacts).

       If the EO is allowed to take effect, even if it is later enjoined, it will distort and contort

American society with a conception of citizenship that has been outlawed by the Constitution,

prohibited by Supreme Court precedent, and rejected by Congress. It will cause grievous harm to

Plaintiffs and thousands of others like them. Plaintiffs therefore respectfully urge the Court to

exercise its broad equitable powers to enter a preliminary injunction to “freez[e] the status quo….”

CellInfo, LLC v. Am. Tower Corp., 352 F.Supp. 3d 127, 135 (D. Mass. 2018); eBay Inc. v.

MercExchange, L.L.C., 547 U.S. 388, 391 (2006).

                        FACTUAL AND PROCEDURAL BACKGROUND

       On January 20, 2025, Defendant Trump issued the challenged Executive Order, which

purports to strip citizenship from children born in the United States whose mother is “unlawfully

present” or whose presence is “unlawful but temporary” and whose father is not a citizen or a

lawful permanent resident. EO, Sec. 2(a). It states that it shall apply to persons born within the

United States after 30 days from the date of the order (February 19, 2025). Id. Sec. 2(b).

       Plaintiffs filed this action the same day that the EO was issued. The following day, a

coalition of States (“the States”) filed an action in this same District, also challenging the EO.4 On

January 21, 2025, the States filed a Motion for Preliminary Injunction. State of New Jersey et al.

v. Trump, Dkt. 3. On January 23, 2025, the Honorable John C. Coughenour issued a 14-day




4
  State of New Jersey et al. v. Trump et al., 25-CV-10139 (D. Mass. filed Jan. 21, 2025). At the
time of this filing, the States’ case is pending before this Court as a related case; however, the
Court has ordered the States to show cause why the case should not be returned to the Clerk for
random assignment. Dkt No. 26.

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Temporary Restraining Order in the U.S. District Court of the Western District of Washington in

a case also challenging the EO. State of Washington et al. v. Trump et al., 25-CV-0127, Dkt. 43

(W.D. Wash. Jan. 23, 2025).

                                             ARGUMENT

   I.       Legal Standard

         “When assessing a request for a preliminary injunction, a district court must consider (1)

the movant's likelihood of success on the merits; (2) the likelihood of the movant suffering

irreparable harm; (3) the balance of equities; and (4) whether granting the injunction is in the public

interest.” Norris on Behalf of A.M. v. Cape Elizabeth Sch. Dist., 969 F.3d 12, 22 (1st Cir. 2020)

(citations and quotations omitted). “The decision whether to grant relief is based on a balancing of

the different factors, with likelihood of success playing a pivotal role.” Largess v. Supreme Judicial

Court for Mass., 373 F.3d 219, 223 n.2 (1st Cir. 2004).

   II.      Plaintiffs Are Likely to Succeed On The Merits.

   A. Plaintiffs Are Likely To Succeed On Their Citizenship Clause Claim.

         It is well-settled that the Citizenship Clause bestows American citizenship upon anyone

born in the United States regardless of their parentage, subject to only a few rare and well-defined

exceptions. The Supreme Court has espoused this broad interpretation for over a century, and its

holding is amply supported by the plain text and history of the Fourteenth Amendment. In flagrant

disregard of these principles, the EO operates to deny citizenship status to an enormous class of

people who are entitled to that status by virtue of their birth on U.S. soil. The President simply

does not have the power to limit the constitutional guarantee of birthright citizenship in this way.

As a result, the EO is a blatant violation of the Fourteenth Amendment.




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       The text of the Citizenship Clause is straightforward. It states that “all persons born or

naturalized in the United States, and subject to the jurisdiction thereof, are citizens of the United

States.” U.S. Const. amend. XIV, § 1. The text of the Amendment includes no hereditary or racial

prerequisite to citizenship—a very intentional choice by the Reconstruction Congress that wrote

it. As the Supreme Court has explained, one of the drafters’ aims in “giving permanence and

security to citizenship in the Fourteenth Amendment” was to overturn the Court’s 1858 decision

in Dred Scott v. Sandford, which endorsed an explicitly racist and hereditary view of American

citizenship. See Afroyim v. Rusk, 387 U.S. 253, 262 (1967).5

       Thus, under the Citizenship Clause, the citizenship of those born in the United States is

limited only by the qualifying language “subject to the jurisdiction thereof.” U.S. Const. amend.

XIV, § 1. That meaning is easily ascertained by reference to history, ordinary usage, and—most

importantly—long-settled Supreme Court precedent. All three support that the word “jurisdiction”

refers to the United States’ sovereign lawmaking authority. With that in mind, “subject to the

jurisdiction thereof” refers to anyone to whom United States law applies. Or, put another way, it

excludes only those with some kind of recognized immunity from American law.

       During Congressional debate over the meaning of the Citizenship Clause, the Clause’s

proponents made statements indicating they understood it to codify the prevailing common law

view of birthright citizenship in effect prior to Dred Scott.6 That common law view known as “jus




5
  The Court’s infamous opinion in Dred Scott held that only individuals descended from people
considered “citizens” by the framers were entitled to citizenship at birth, and that this excluded the
descendants of slaves who had been, at the time of the framing, “subjugated by the dominant race”
and considered “subordinate.” Dred Scott, 60 U.S. at 404.
6
  See Michael D. Ramsey, Originalism and Birthright Citizenship, 109 Geo. L.J. 405, 441 n.173
(2020) (quoting statement of Clause’s drafter); James C. Ho, Defining “American”: Birthright
Citizenship and the Original Understanding of the 14th Amendment, 9 Green Bag 2d 367, 369-
371 (2006) (quoting statements from Congressional debate); Jonathan C. Drimmer, The Nephews

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soli,” had been widely embraced by early American courts and stood for the proposition that

citizenship is acquired by birth within the sovereign’s territory.7 Supreme Court Justice Joseph

Story discussed this broad conception of territorial birthright citizenship in 1830, writing that

“[n]othing is better settled at the common law than the doctrine that the children even of aliens

born in a country, while the parents are resident there under the protection of the government, and

owing a temporary allegiance thereto, are subjects by birth.” Inglis v. Trs. of Sailor’s Snug Harbor,

28 U.S. 99, 164 (1830) (Story, J.) (emphasis added). Justice Story also outlined that there are only

a few exceptions to jus soli citizenship, including the children of ambassadors and invading

soldiers who are not “subject[s]” of the state when within the territory. Id. at 155-156.

       Jus soli and its exceptions comport with the idea of sovereign “jurisdiction” that Chief

Justice John Marshall outlined in 1812. In a case called The Schooner Exchange v. McFadden, the

Chief Justice explained that “[t]he jurisdiction of the nation within its own territory is necessarily

exclusive and absolute” except as applied to foreign “sovereign[s],” “ministers,” and “troops” who

have some degree of immunity from local laws. 11 U.S. 116, 136-140 (1812). He then elaborated

on the applicability of U.S. law to foreigners more generally, writing that “[w]hen private

individuals of one nation spread themselves through another … it would be obviously inconvenient

and dangerous to society, and would subject the laws to continual infraction … if such individuals

… were not amenable to the jurisdiction of the country.” Id. at 144. This supports not only that the

term “jurisdiction,” as used in the early 19th century, referred to American lawmaking power, but

also that foreigners were generally considered subject to that “jurisdiction.”



of Uncle Sam: The History, Evolution, and Application of Birthright Citizenship in the United
States, 9 Geo. Immigr. L.J. 667, 696 n.211 (1999) (quoting and citing Congressional statements).
7
  See United States v. Wong Kim Ark, 169 U.S. 649-664 (1898) (citing cases); Ho, supra note 2 at
369, 369 n.15 (2006) (citing cases); Drimmer, supra note 2 at 683-685 (citing cases).


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       The Supreme Court’s 1898 decision in United States v. Wong Kim Ark definitively

established that Congress intended “subject to the jurisdiction thereof” to enshrine the jus soli

principle of broad, territorial birthright citizenship into the Constitution. 169 U.S. 649 (1898). The

Plaintiff in that case, Wong Kim Ark, was born in San Francisco to non-citizen parents from China

who were living and working in the United States. In 1894, as an adult, he left the United States

for a temporary visit to China. When he returned, Customs denied him entry into the country under

the Chinese Exclusion Acts, which “prohibit[ed] persons of the Chinese race, and especially

Chinese laborers, from coming into the United States....” Id. at 653. Wong challenged his exclusion

in federal court, and the case turned on whether he was “subject to the jurisdiction” of the United

States when he was born in the U.S. to non-citizen parents. Id.

       The Court found that he was. It exhaustively discussed the history of birthright citizenship

in England, the American colonies, and the early United States, and concluded that “[t]he real

object of the fourteenth amendment of the constitution, in qualifying the words ‘all persons born

in the United States’ by the addition ‘and subject to the jurisdiction thereof,’ would appear to have

been to exclude, by the fewest and fittest words” the classes of people whose children had been

excluded from birthright citizenship at common law, like the “children of diplomatic

representatives.” Id. at 682. Emphasizing the Citizenship Clause’s broad applicability, the Court

held that it includes “the children born within the territory of the United States of all other persons,

of whatever race or color, domiciled within the United States” and that “[e]very citizen or subject

of another country, while domiciled here, is within the allegiance and the protection, and

consequently subject to the jurisdiction, of the United States.” Id. at 693.

       All of this establishes beyond doubt that the EO’s policy of refusing to recognize

citizenship based solely on parentage violates the Fourteenth Amendment. Pursuant to Wong Kim



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Ark, the citizens targeted by the EO are ipso facto American citizens due to their birth within the

United States, regardless of the immigration status of their parents. See Wong Kim Ark, 169 U.S.

at 682. However much Defendant Trump may disagree with the Fourteenth Amendment’s

expansive guarantee of birthright citizenship, that right attaches at the time of birth on American

soil and cannot be “shifted, canceled, or diluted at the will of the Federal Government.” Afroyim,

387 U.S. at 262.

   B. Plaintiffs Are Likely To Succeed On Their Claim Under 8 U.S.C. § 1401.

       The Citizenship Clause’s broad grant of birthright citizenship is also codified by 8 U.S.C.

§1401. This statutory provision was originally enacted in 1940 when Wong Kim Ark had long been

the settled law of the land, and it mirrors the language of the Citizenship Clause, stating that “The

following shall be nationals and citizens of the United States at birth: a) a person born in the United

States, and subject to the jurisdiction thereof ....” Because the EO violates the Citizenship Clause,

it also violates the parallel statutory protections of 8 U.S.C §1401. See Bostock v. Clayton County,

580 U.S. 644, 654 (2020) (noting that courts must interpret a statute “in accord with the ordinary

public meaning of its terms at the time of its enactment”).

   C. Plaintiffs Are Likely To Succeed On Their Claim Under The Administrative Procedure
      Act.

       Similarly, because the EO directs federal agencies to act unconstitutionally and contrary to

federal statute, it is also unlawful under the APA. Pursuant to the Act, courts must hold unlawful

and set aside agency action that is arbitrary and capricious, unconstitutional, contrary to statute,

and without observance of procedure required by law. 5 U.S.C. § 706(2)(A-D). The EO bars all

executive departments and agencies from issuing documents recognizing United States citizenship

to individuals targeted by the EO. EO, Sec. 2(a). It also directs Defendants Rubio and King, among

other agency heads, to ensure that no one within their agency “act, or forbear from acting, in any


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manner inconsistent with this order.” Id. §3(a). This agency action directly conflicts with the

Citizenship Clause and 8 U.S.C. § 1401, for the reasons set forth above. See supra at 11-15.

Accordingly, it must be held unlawful and set aside. 5 U.S.C. § 706; see also Franklin v.

Massachusetts, 505 U.S. 788, 828 (1992) (“Review of the legality of Presidential action can

ordinarily be obtained in a suit seeking to enjoin the officers who attempt to enforce the President's

directive”); Chamber of Com. of U.S. v. Reich, 74 F.3d 1322, 1326–27 (D.C. Cir. 1996) (explaining

that agency action implementing an executive order does not insulate it from judicial review under

the APA); E. Bay Sanctuary Covenant v. Trump, 932 F.3d 742, 770 (9th Cir. 2018) (same).

      III.      In The Absence of Preliminary Relief, Plaintiffs Will Suffer
                Irreparable Harm.

             Forcibly robbing Americans of their citizenship would trigger a destabilizing cascade

of harm and suffering. As documented in supporting declarations, the harm is multifaceted and

compounding. The harm would also be immediate, “particularly on the health, legal stability,

and well-being of children born to immigrant parents.” Vega Dec. ¶ 5.

                A. The EO Would Make Children Deportable At Birth And Render Many Of Them
                   “Stateless”

             To begin with, the EO would render newborns covered by the EO deportable at birth,

without any immigration status. As a former Director of the United States Citizenship and

Immigration Services explains, “Babies who are born after February 19, 2025 and fall into the

categories listed in the EO would … have no immigration status at all. We simply do not have

any legal structures in place in the United States to recognize such babies as anything other

than U.S. citizens.” Rodriguez Dec. ¶8. They would thus become “instantly deportable.” Id.

¶9.




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       Plaintiff Doe, for example, is originally from Haiti and cannot return due to political

instability and the well-documented “collapse of Haiti.” Doe Dec. ¶¶ 1-2. The abject fear she

feels for her child is thus fully justified. Id. ¶¶ 8, 11 (“[A]fter learning about the Executive

Order, I was overwhelmed with anxiety….How can I keep my child safe from being deported

to a collapsed Haiti?”). Organizational Plaintiffs’ members are experiencing similar panic at

the prospect that their babies, once born, would be instantly deportable. Vega Dec. ¶14

(“raising children deemed ‘stateless or lacking full citizenship rights would cause immense

stress and anxiety”).8 Subjecting U.S. citizen children and their families to the possibility that

the children may be deported at any time is brutal, cruel, and unlawful. Landon v. Plasencia,

459 U.S. 21, 34 (1982) (noting the utmost importance of the right “to stay and live and work

in this land of freedom”); Padilla v. Kentucky, 559 U.S. 356, 357 (2010) (noting the importance

of “preserving the right to remain in the United States”) (citation and internal quotation

omitted). Any ultimate adjudication in Plaintiffs’ favor in this case would be too late if their

U.S.-born children were deported in the meantime—the epitome of irreparable harm.

See Padilla, 559 U.S. at 374 (recognizing the “seriousness of deportation” and “the

concomitant impact of deportation on families…”); Kanstroom Dec. ¶13 (“Wrongful




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  The very idea that the United States would deport babies even though their mothers are legally
here in the country is repugnant, but similar conduct is not unknown to Defendants. See Ankush
Khardori, How America Forgot About One of Trump’s Most Brutal Policies, Politico (Oct. 28,
2024),          https://www.politico.com/news/magazine/2024/10/28/trump-immigration-family-
separation-00185512 (detailing family separation policy). Moreover, within the first days of his
current administration, Defendant Trump has authorized immigration enforcement in hospitals,
and has stated that no one is off limits. See Brian Mann, Churches, schools are no longer off limits
to    agents     rounding      up    undocumented      migrants,    NPR      (Jan.   22,    2025),
https://www.npr.org/2025/01/22/nx-s1-5269859/churches-schools-are-no-longer-off-limits-to-
agents-rounding-up-undocumented-migrants

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deportations not only cause tremendous emotional distress; but they are physically dangerous

and extremely difficult to rectify once a U.S. citizen is sent to a foreign country.”).

       Moreover, because many children subject to the EO, like Plaintiff Doe’s child, would

have no ties to any other country, they would be rendered “stateless,” a grievous harm in and

of itself. Doe Dec. ¶7; Kanstroom Dec. ¶17 (“Many [covered by the EO] would be stateless,

and thus without the protection of any government at all.”); see also Afroyim, 387 U.S. at 268

(noting that stateless status is a harm). This lack of any status leads to its own set of injuries:

“Statelessness eliminates not just social citizenship but also medical citizenship.” Danaher

Dec. ¶¶7-8 (internal quotations and citations omitted) (concluding that stateless individuals

“tend to experience worse health outcomes and shorter lifespans”). “The health burdens of

statelessness would further exacerbate existing racial inequities in pediatric health outcomes,

not only among directly affected children, but among U.S. citizen children as well.” Id. ¶ 10.

       Moreover, these harms would fall not just upon the child covered by the EO, but upon

whole families: “The prospect of raising children deemed ‘stateless’ or lacking full citizenship

rights would cause immense stress and anxiety, undermining the mental health and stability of

entire families.” Vega Dec. ¶1; Doe Dec. ¶¶ 9-10.

       If the EO is not blocked, children would become second-class citizens in their own

country of birth—an unbearable and stigmatizing condition forbidden by the Constitution.

Plyler v. Doe, 457 U.S. 202, 213 (1982); see also Reason Dec. ¶8 (Plaintiffs are “afraid to

expose their newborn children to additional scrutiny, stigma, or discrimination.”); Vega Dec.

¶13 (“Our members are deeply concerned about the emotional toll this policy would take on

their children, who may grow up feeling stigmatized, excluded, and alienated in the only

country they know as home.”). The result would be that “[c]hildren born in the U.S. would



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essentially be relegated to a subordinate caste of native-born Americans.” Kanstroom Dec. ¶17.

This loss of reputation and dignitary harm is irreparable. See Ross-Simons of Warwick, Inc. v.

Baccarat, Inc., 102 F.3d 12, 20 (1st Cir. 1996); Camel Hair & Cashmere Inst. of Am., Inc. v.

Associated Dry Goods Corp., 799 F.2d 6, 16 (1st Cir. 1986) (remanding for the issuance of a

preliminary injunction to safeguard “protectable interest” in reputation).

           B. Children Subject To The EO Would Be Stripped Of The Numerous Benefits Of
              U.S. Citizenship.

       “Citizenship is a most precious right.” Kennedy v. Mendoza-Martinez, 372 U.S. 144,

159 (1963). It confers “full membership of a community” and “a unique bundle of privileges

and benefits,” Kanstroom Dec. ¶¶ 5-6, all of which would be lost if the EO were to go into

effect. Concrete benefits that would be lost include the ability to travel freely with a U.S.

passport. Id. ¶13 (“Families of newborn children routinely apply for passports sometimes for

emergency reasons to visit and help to care for sick relatives or to attend funerals with their

young U.S.-born children.”). Other rights that would be lost include “the right to reside in the

United States, the right not to face deportation under any circumstances, the right to vote in

federal elections, the right to hold certain political offices and government positions, the ability

to leave and to re-enter the United States freely unencumbered by immigration criteria and

processes, and eligibility for various public benefits.” Kanstroom Dec. ¶6; see also Merjian

¶12 (noting “very real risk of plunging huge numbers into a downward spiral”).

           C. Children Subject To The EO Would Suffer Compromised Health and Decreased
              Housing Access.

       Implementation of the EO would also put children’s health at risk, because health

outcomes are directly tied to citizenship. See Danaher Dec. ¶4 (“A growing body of scientific

literature demonstrates that policies of exclusion based on immigration status harm children in



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immigrant families by directly and indirectly diminishing access to public benefits such as

healthcare, nutrition, and educational opportunities, while promoting bullying, fear, and

chronic stress.”) (citing authorities); see also Molina Dec. ¶9 (“A child’s citizenship status

significantly impacts their access to healthcare and health outcomes.”).

       This is in part because certain health programs are only available to citizens or those

with other defined immigration status. Id. (noting that “U.S. citizenship ensures eligibility for

vital programs like Medicaid and the Children’s Health Insurance Program (CHIP), providing

preventive care, immunizations, and treatment that support healthy development.”); see also

Danaher Dec. ¶5 (“Income-eligible children whose immigration status bars eligibility for

public health insurance programs are uninsured at more than seven times the rate of comparable

children with U.S. citizenship.”). In addition, fear and uncertainty often prevent non-citizen

immigrants from accessing even healthcare to which they are entitled. Vega Dec. ¶10

(individuals “who are undocumented may delay or avoid seeking medical care altogether due

to confusion, fear of deportation, or stigma, putting their children at heightened risk for

untreated conditions and developmental delays.”).9

       All of these adverse health outcomes are foreseeable harms for children who would be

stripped of their citizenship under the EO. As courts have often recognized, interruption of

healthcare is harmful and irreparable, as it “cannot adequately be compensated for either by a

later-issued permanent injunction, after a full adjudication on the merits, or by a later-issued




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 This lack of adequate healthcare is particularly perilous for infants. Molina Dec. ¶11 (“Infants
with citizenship are more likely to access routine care without barriers, leading to better
management of chronic conditions, early detection of issues, and overall improved health. By
contrast, infants without citizenship often face restricted access, delays in care, and greater
exposure to health disparities. These obstacles can result in untreated conditions, undermining their
well-being.”).

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damages remedy.” See, e.g., Rio Grande Cmty. Health Ctr., Inc., 397 F.3d 56, 76 (1st Cir.

2005) (preliminary injunction averted harm to low-income medically underserved

populations).

         The immediate harm from implementation of the EO also extends to housing insecurity

and the deprivation of benefits essential to the American social safety net. For example,

“citizenship confers upon families the ability to secure subsidized or public housing.” Merjian

Dec. ¶4. Experts have consistently found that “[i]n both public and private housing markets,

United States citizens tend to fare better than non-citizens, particularly those who are

undocumented.” Id. (noting “undocumented individuals are ineligible for most housing

assistance programs, such as Section 8 and myriad state and local housing voucher and subsidy

programs”). Since “stable housing is the wellspring to education, employment, health, wealth

accumulation, and prosperity,” Defendants are placing families in jeopardy. Id. (noting that

“without stable housing, it is impossible to store medication and fresh food, regularly attend

medical appointments, and to maintain a strict medical regimen”). In fact, “[l]ack of legal status

renders families of the undocumented disproportionately impecunious, and as a result, such

families are often forced to live in overcrowded, unsafe, unsanitary, and unstable conditions.

Id. ¶ 9. Thus, the EO “would cause endless pain and suffering to countless individuals and their

families and only exacerbate a homelessness crisis that has reached staggering proportions in

municipalities throughout the United States.” Id. ¶12.

   IV.      The Public Interest and Balance of Equities Weigh Heavily in Plaintiffs’ Favor.

         The third and fourth factors typically considered by the Court—the balance of harms

and the public interest—“merge when the Government is the opposing party.” Nken, 556 U.S.

at 435. In this case, both factors together weigh heavily in favor of Plaintiffs. “There is



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generally no public interest in the perpetuation of unlawful agency action. To the contrary,

there is a substantial public interest in having governmental agencies abide by the federal laws

that govern their existence and operations.” League of Women Voters of United States, 838

F.3d at 12 (internal quotations and citations omitted). The public interest weighs in favor of

allowing injunctive relief because it is “always in the public interest to prevent the violation

of a party’s constitutional rights.” Dorce v. Wolf, 506 F. Supp. 3d 142, 145 (D. Mass. 2020)

(internal citations and quotations omitted).

       Here, the public interest would be significantly harmed by the chaos the EO will bring

about, not only to the targeted individuals but to everyone. Although the Administration’s

targets are immigrants, elimination of birthright citizenship will significantly burden people

of all immigration statuses. As the former head of USCIS explains, for example, the process

for obtaining a Social Security card after a child’s birth is currently simple, facilitated by

hospitals through the Enumerated at Birth program. Rodriguez Dec. ¶11; Molina Dec. ¶5

(same). However:

       The EO would change all that—not just for undocumented individuals but for
       everyone. Even in the case of a baby born to two U.S. citizen parents, a birth
       certificate reflecting a birth within the United States would no longer establish the
       baby’s citizenship. The parents would have to prove their own status first. Even if
       it were deemed acceptable for citizen-parents to do so by producing their own birth
       certificates (which would appear illogical, if that does not serve as proof for
       individuals born after February 19, 2025), that would be an extraordinarily
       cumbersome process compared to what exists today.

       Moreover, it is not clear to whom they would produce those documents: to the
       hospitals where their child’s birth occurred (which have no training or ability to
       manage such a process)? To the local jurisdiction where their child was born? To
       the one where they reside? The state? To a federal agency? There does not currently
       exist in the United States a centralized database of U.S. citizens. Even if one could
       be created, and a process for determining who goes into it, that most certainly could
       not be accomplished within 30 days. Thousands of people would be required to hire
       immigration attorneys to help with this process, at immense burden and cost.



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Rodriguez Dec. ¶¶ 12-13; see also Kanstroom Dec. ¶12 (“the consequences of even a short-

lived Executive Order … would involve intolerable legal chaos and potentially irremediable

harm to individuals, families, and communities.”); Culliton-González Dec. ¶6 (same).

       Public health would similarly be compromised—to the detriment of everyone. Galletly

Dec. ¶6 (“[p]ublic health disease control efforts could be undermined as undocumented

immigrants seek to avoid detection”); see also Danaher Dec. ¶9 (noting “unmet basic needs

have been shown to drive up emergency room, urgent care, and mental health visits among

children”).

       On the opposite side of the balance, there is no injury to the government at all in

preserving the status quo that has existed in this country for over 150 years. Injunctive relief

is particularly appropriate where it “causes minimal hardship to the government or injury to

the public.” Savino v. Souza, 459 F. Supp. 3d 317, 332 (D. Mass. 2020) (granting preliminary

injunction); see also Alongi v. AMCO LLC, No. 15-CV-12349, 2015 WL 12766154, at *1 (D.

Mass. Sept. 23, 2015) (noting that issuance of preliminary injunction would “not cause undue

inconvenience or loss” to defendant); Rio Grande Cmty. Health Ctr., 397 F.3d at 77 (finding

that preliminary injunction against the government “can hardly be considered substantial

interference”); League of Women Voters of United States, 838 F.3d at 12 (granting preliminary

injunction because it would “not substantially injure other interested parties”) (internal

citations and quotations omitted); McBreairty v. Sch. Bd. of RSU 22, 616 F. Supp. 3d 79, 98

(D. Me. 2022) (granting relief); Westenfelder v. Novo Ventures (U.S.), Inc., 797 F.Supp. 2d

188, 191 (D. Mass. 2011) (same).

       Finally, the public interest is served by a judicial ruling that makes clear that a President

cannot unilaterally revoke citizenship. Just the issuance of the EO has caused widespread panic



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within immigrant communities. It is already “creat[ing] a chilling effect, deterring immigrant

families from seeking critical services, such as health care….” Vega Dec. ¶15; Reason Dec.

¶8 (“Several expecting mothers have arrived at [Plaintiff’s] Welcome Center seeking stable

housing and other resources, but they are already saying that they are hesitant to seek help

because of the Executive Order.”).

       There is no harm to Defendants from complying with the explicit terms of the

Constitution and maintaining the principle of birthright citizenship that has existed in this

country for generations, and the public interest is served by an injunction preserving that status

quo.

                                        CONCLUSION

       For all of the foregoing reasons, Plaintiffs urge the Court to enter an order preliminarily

enjoining Defendants from implementing the challenged Executive Order.

Dated: January 23, 2025                                Respectfully submitted,

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                                CERTIFICATE OF SERVICE

I hereby certify that on January 23, 2025, the above-captioned document was filed through the
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registered participants.


                                                      /s/Oren Sellstrom




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